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                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


LAKE FOREST PARTNERS, L.P., and MARY                ) Civil Action No.2: 12-cv-00999-AJS
ANASTASIA LAPIC, for themselves and all            )
others similarly situated,                         )
                                                   )
                             Plainti ffs,           )            Electronically Filed
                                                   )
     vs.                                           )
                                                   )
SPRINT COMMUNICATIONS COMPANY                      )
L.P., QWEST COMMUNICATIONS                         )
COMPANY, LLC, LEVEL 3                              )
COMMUNICA TrONS, LLC, and WIL TEL                  )
COMMUNICATIONS, LLC,                               )
                                                   )
                             Defendants.           )

                           ORDER AUTHORIZING DISBURSEMENT OF
                          FEE-AND-EXPENSE AWARD FROM ESCROW

       Settlement Class Counsel have filed a consent motion for an order approving

disbursement from escrow of the fees and expenses the Court awarded in settlement ofthis class

action. The Court awarded the subject fees and expenses in its Findings of Fact and Conclusions

of Law on Plaintiffs' Motion for Award of Attorneys' Fees and Expenses to Settlement Class

Counsel (Doc. 42). Pursuant to that award and the terms ofthe Pennsylvania Class Settlement

Agreement, the Settling Defendants have deposited the fee-and-expense award into an escrow

account established with U.S. Bank in New York. The allocation of the fee-and-expense award

among all interested counsel and their agreed percentages are memorialized in a July 6, 2012

Agreement to Arbitrate the Allocation of Attorneys' Fees and Costs Awarded in the Fiber-Optic-

Cable Right-of- Way Litigation ("Agreement to Arbitrate") and an arbitration award under the

Agreement to Arbitrate.
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       Upon consideration of the consent motion and the record in this case, it is hereby

ORDERED that the consent motion is GRANTED. It is further ORDERED that, under the

Agreement to Arbitrate and the arbitration award, Garretson Firm Resolution Group, Inc. shall

disburse the Pennsylvania fee-and-expense award from the Pennsylvania Fiber Optic Counsel

Qualified Settlement Fund, after all current expenses for administering the Fund have been

deducted and any accumulated interest has been added, in the following percentages to the

following groups of counsel:

                       (1) 85.956 percent to the 48-Firm Group;'

                       (2) 8.398 percent to William T. Gotfryd;2 and

                       (3) 1.2 percent to the Litman Group.3

       It is further ORDERED that the Susman Group4 may file a motion requesting

disbursement of its 4.446-percent share of the award, but until such time as that motion is filed

and granted, the Susman Group's share shall remain in escrow.




I "The 48-Finn Group" means (l) the attorneys and law finns listed under "The 48-Firm Group"
in Schedule A of the Agreement to Arbitrate, all of whom have, through separate agreements,
agreed on the allocation of their collective share of Gross Fees between and among themselves
and (2) any other counsel who requests an award of the Gross Fees based on representation of a
client who is also represented by the 48-Firm Group and which counsel is not William T.
Gotfryd, a member of the Litman Group, a member of the Susman Group, or a representative of
the Estate ofHugh V. Smith, Jr., as defined in the Agreement to Arbitrate.
2 "William T. Gotfryd" means William T. Gotfryd, Esq. and any other counsel who requests an
award of the Gross Fees based on representation of a client who is also represented by William
T. Gotfryd and which counsel is not a member of the Litman Group, a member of the 48-Finn
Group, a member of the Susman Group, or a representative of the Estate of Hugh V. Smith, Jr.,
as defined in the Agreement to Arbitrate.
3 "The Litman Group" means Seth A. Litman and Alembik, Fine & Callner P.A; and any other
counsel who requests an award of the Gross Fees based on representation of a client who is also
represented by the Litman Group and which counsel is not William T. Gotfryd, a member ofthe
48-Firm Group, a member ofthe Susman Group, or a representative ofthe Estate of Hugh V.
Smith Jr., as defined in the Agreement to Arbitrate.



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         It is further ORDERED that all escrow-account expenses for administering the

Pennsylvania Fiber Optic Counsel Qualified Settlement Fund that are incurred after making the

distribution to the 48-Firm Group, William T. Gotfryd, and the Litman Group will be paid for

out of the remaining funds held in escrow for the Susman Group.


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                                            HonorableA.rthU~
Date:

                                            United States District Judge




4 "The Susman Group" means Arthur Susman, Esq.; Susman Heffner & Hurst, LLP; Charles
Watkins, Esq.; John Wylie, Esq.; Donaldson & Guin LLC; the attorneys and law firms listed
under "The Susman Group" in Schedule A of the Agreement to Arbitrate; and any other counsel
who requests an award of the Gross Fees based on representation of a client who is also
represented by the Susman Group and which counsel is not a member of the 48-Firm Group, a
member of the Litman Group, William T. Gotfryd, or a representative of the Estate of Hugh V.
Smith, Jr., as defined in the Agreement to Arbitrate.



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